ll
12
13
14
15
16
17
18
19
20
on
De

24
25
26
ZF
28

5.

 

Christopher B. Good, Esq. (SBN 232722)
GOOD LAW

2934 4 Beverly Glen Circle, No. 104

Los Angeles, CA 90077

T: (310) 274-4663
cgood(@thegoodlaw.com

Attorneys for Plaintiffs,
DGF Worldwide Entertainment Group, LLC

And Daniel G. Fainman

DGF WORLDWIDE ENTERTAINMENT

Plaintiffs,
VS.

CHASING 3000 FILMS, LLC; PRETTY
DANGEROUS FILMS, LLC, VELOCITY
PICTURES, LLC; RYAN JOHNSON, and
PATRICK GALLAGHER

Defendants.

GROUP, LLC and DANIEL G. FAINMAN,

 

 

1

Se 2:19-cv-03315-VAP Document 17 Filed 04/23/19 Page 1of2 Page ID #:49

UNITED STATES FEDERAL DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

CASE NO. 2:14-mc-00632-UA

REQUEST FOR ORDER GRANTING
SPECIAL APPOINTMENT TO SERVE
PROCESS

FRCP 4(¢c), LR 9.2, 19.3
[No Hearing Required]

 

 

REQUEST FOR ORDER GRANTING SPECIAL APPOINTMENT TO SERVE PROCESS

 
10
11
2

14
15
16
17
18
19
20
21
ep)
23
24
25
26
of

28

5.

 

Se 2:19-cv-03315-VAP Document 17 Filed 04/23/19 Page 2of2 Page ID#:50

TO ALL PARTIES AND COUNSEL OF RECORD:

PLAINTIFFS/IUDGMENT CREDITORS DGF WORLDWIDE ENTERTAINMENT
GROUP, LLC and DANIEL G. FAINMAN, pursuant to the provisions of Rule 4(c) of the Federal
Rules of Civil Procedure and rules 4, 5 and 64-2 of the Local Rules of the Central District of
California, request that Janney & Janney, a registered CA process server and attorney service
company, whose business address is 1545 Wilshire Blvd., Los Angeles, CA 90017 be authorized
and specially appointed to serve any writs of attachment, writs of execution, and any other judgment
enforcement documents or items necessary in this action. The U.S. Marshall’s office shall remain

the levying officer.

Dated: April 23, 2019

By: oS

Christspher B. Good
Attomey for Judgment Creditors

2
REQUEST FOR ORDER GRANTING SPECIAL APPOINTMENT TO SERVE PROCESS

 

 
